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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
        v.                                        :      Criminal No. 21-CR-53 (CJN)
                                                  :
                                                  :
EDWARD JACOB LANG,                                :
                                                  :
                      Defendant.                  :


                                  GOVERNMENT’S
                            SUPPLEMENTAL OPPOSITION TO
                              DEFENDANT’S MOTION FOR
                                     RELEASE

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully submits this supplement to correct two inadvertent

errors in its opposition to the Defendant’s bond motion.

             •   On page 14 of its opposition, the government stated: “LANG responded by

                 hitting Officer T.C. with the stolen shield, first at 4:43.36 p.m., then again at

                 4:43.29 p.m….” It should have stated “then again at 4:43.39 p.m.”

             •   On page 16, the government stated that Exhibit Y was “BWC footage from one

                 of the officers repeatedly hit with the bat.” However, Exhibit Y is BWC footage

                 from an officer standing behind one of the officers repeatedly hit with the bat.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
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                             Acting United States Attorney
                             DC Bar No. 415793




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